  Case 1:24-cv-00193-GBW Document 27 Filed 02/13/24 Page 1 of 2 PageID #: 6
                                     OFFICE OF THE CLERK
                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE                             Unit 18
          Randall Lohan                                                       844 North King Street
            CLERK                                                                U.S. Courthouse
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                                         February 13, 2024
TO:

 Bradley W. Madsen                                  Dawn L. Davis
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 Irvine, CA 92614                                   Irvine, CA 92614


RE:    DE Ca No. 1:24-cv-00193-UNA
       USDC/NV Case Ca No. 2:23-cv-01409-APG-EJY
       Okhandiar et al v. Smith et al.

Dear Counsel:

The above referenced action was transferred to the U.S. District Court on 2/13/2024.

        Pursuant to Local Rule 83.5 (Local Rules of Civil Practice and Procedure of the United
States District Court for the District of Delaware, effective August 1, 2016) it is required that all
parties associate themselves with local counsel. Local Rule 83.5 (d) and (e) read as follows:

        (d) Association with Delaware Counsel required. Unless otherwise ordered, an attorney
not admitted to practice by the Supreme Court of the State of Delaware may not be admitted pro
hac vice in this Court unless associated with an attorney who is a member of the Bar of this
Court and who maintains an office in the District of Delaware for the regular transaction of
business (“Delaware counsel”). Consistent with CM/ECF Procedures, Delaware counsel shall be
the registered users of CM/ECF and shall be required to file all papers. Unless otherwise ordered,
Delaware counsel shall attend proceedings before the Court.

        (e) Time to Obtain Delaware Counsel. A party not appearing pro se shall obtain
representation by a member of the Bar of this Court or have its counsel associate with a member
of the Bar of this Court in accordance with D.Del. LR 83.5(d) within 30 days after:

       (1) The filing of the first paper filed on its behalf; or
       (2) The filing of a case transferred or removed to this Court.
  Case 1:24-cv-00193-GBW Document 27 Filed 02/13/24 Page 2 of 2 PageID #: 7




       Failure to timely obtain representation shall subject the defaulting party to appropriate
sanctions under D.Del. LR 1.3(a).

       Please have your local counsel enter an appearance on or before 3/14/2024.


                                                             Sincerely,

                                                             Randall Lohan
                                                             Clerk of Court
/APK
